ATTACHMENT 2B

PUBLIC VERSION
 1    Evan R. Chesler (N.Y. Bar No. 1475722) (pro hac vice)
     echesler@cravath.com
 2   CRAVATH, SWAINE & MOORE LLP
     825 Eighth Avenue
 3   New York, NY 10019
     Telephone: (212) 474-1000
 4   Facsimile: (212) 474-3700
 5   David A. Nelson (Ill. Bar No. 6209623) (pro hac vice)
     davenelson@quinnemanuel.com
 6   QUINN EMANUEL URQUHART & SULLIVAN, LLP
     500 West Madison St., Suite 2450
 7   Chicago, Illinois 60661
     Telephone: (312) 705-7400
 8   Facsimile: (312) 705-7401
 9   Karen P. Hewitt (SBN 145309)
     kphewitt@jonesday.com
10   JONES DAY
     4655 Executive Drive, Suite 1500
11   San Diego, California 92121
     Telephone: (858) 314-1200
12   Facsimile: (858) 345-3178
13   [Additional counsel identified on signature page]
14   Attorneys for Defendant and Counterclaim-Plaintiff
     QUALCOMM INCORPORATED
15
16                          UNITED STATES DISTRICT COURT
17                        SOUTHERN DISTRICT OF CALIFORNIA
18
     IN RE: QUALCOMM LITIGATION                 No. 3:17-CV-0108-GPC-MDD
19
20                                              QUALCOMM INCORPORATED’S
                                                TRIAL BRIEF
21
                                                Judge:     Hon. Gonzalo P. Curiel
22                                              Courtroom: 2D
23
                                                Trial Date: April 15, 2019
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      QUALCOMM’S TRIAL BRIEF                                                  -iii-                            CASE NO. 3:17-CV-0108-GPC-MDD
 1                                      INTRODUCTION
 2         Although this case involves a large number of claims and counterclaims, at its
 3   heart it is about Apple and its contract manufacturers’ refusal to pay what they owe for
 4   their continued use of Qualcomm’s IP. The Qualcomm IP licensed to the contract
 5   manufacturers forms the core of modern cellular technology without which the iPhone
 6   could not exist. That IP also covers a wide array of technologies in modern smartphones,
 7   including audio, video, streaming, multimedia, Wi-Fi, Bluetooth, digital photography,
 8   user interface, battery life, and much more. These technologies have enabled Apple to
 9   grow into one of the world’s most successful companies while the wider cellular industry
10   has also flourished.
11         Virtually every significant cellular device manufacturer has recognized the value
12   of Qualcomm’s technology and entered into a license agreement with Qualcomm,
13   including Apple’s contract manufacturers (“CMs”), which signed their Subscriber Unit
14   License Agreements (“SULAs”) with Qualcomm many years ago. The CMs’ SULAs are
15   worldwide portfolio licenses covering not only Qualcomm’s cellular standard-essential
16   patent (“SEP”) portfolio, but also tens of thousands of its non-standard-essential patents
17   (“NEPs”) and non-cellular SEPs for technologies like video and audio playback and
18   recording, among others. Rather than let the CMs continue to pay Qualcomm a fair
19   royalty, as they contracted to do—and did for the better part of two decades—Apple took
20   deliberate steps to interfere with the CMs’ compliance with their SULAs, causing them to
21   breach those agreements by failing to pay billions of dollars in royalties owed from the
22   beginning of 2017 to today. Apple did this for the express purpose of inflicting financial
23   harm on Qualcomm and coercing Qualcomm to accept unfair compensation for its IP.
24         The evidence at trial will establish that the CMs’ SULAs are reasonable,
25   enforceable agreements, covering tens of thousands of patents not covered by
26   Qualcomm’s commitments to license its cellular SEPs on fair, reasonable, and non-
27   discriminatory (“FRAND”) terms. And, to the extent its FRAND commitments do apply,
28   Qualcomm has fulfilled them; Qualcomm’s royalty rates have been accepted by hundreds

      QUALCOMM’S TRIAL BRIEF                     -1-                 CASE NO. 3:17-CV-0108-GPC-MDD
 1   of licensees, and its licensing practices have been standard in the cellular industry since
 2   its inception. The evidence also will establish that Qualcomm’s business practices are
 3   not anticompetitive, and that Apple and the CMs have suffered no injury cognizable
 4   under the antitrust laws. Qualcomm is entitled to declaratory relief that the SULAs are
 5   enforceable and that Apple and the CMs have no excuse for their failure to provide any
 6   compensation to Qualcomm for using its IP for the past two years. Finally, the evidence
 7   at trial will establish that Apple caused the CMs to underpay royalties owed under the
 8   SULAs even before they completely stopped paying royalties in 2017, and that Apple
 9   also breached various direct agreements with Qualcomm. 1
10                                 FACTUAL BACKGROUND
11         A.     Qualcomm’s Inventions Enable the Modern Smartphone.
12         Since Qualcomm’s founding 30 years ago, Qualcomm’s innovations have been key
13   to the cellular industry’s development. At that time, when Qualcomm was a fledgling
14   technology startup in an industry dominated by a handful of large, established companies,
15   Qualcomm invented code division multiple access technology (“CDMA”) for
16   commercial use. CDMA was better at allocating scarce bandwidth than the solution that
17   the industry (and governments) supported at the time. Despite resistance from
18   entrenched players, and facing substantial risk of failure, Qualcomm proved CDMA’s
19   superiority, ushering in a revolution in cellular communications.
20         Qualcomm did not stop there. CDMA became the backbone of 3G. Qualcomm
21   also recognized that data transmission and mobile internet access would be critical to the
22   future of cellular communications. It developed technologies key to today’s high-data,
23   bandwidth-intensive applications, many of which were ultimately incorporated into the
24   4G LTE standard. Today, Qualcomm is leading the way in the development of 5G.
25   Qualcomm has remained at the leading edge of technological innovation by investing
26
       1
27        This brief sets forth the key claims and evidence for trial. Some claims will be tried
     to the jury, while other claims will be tried to the Court. Qualcomm will be prepared to
28   address the issue of which claims fall into each bucket, and the logistics of how each set
     of claims will be tried, at the March 28, 2019 hearing.
      QUALCOMM’S TRIAL BRIEF                      -2-                 CASE NO. 3:17-CV-0108-GPC-MDD
 1   billions of dollars each year—a substantial proportion of its revenues—in R&D.
 2         Rather than retaining its inventions as proprietary, Qualcomm’s goal has always
 3   been to propagate its cellular technologies broadly so that many manufacturers would
 4   adopt them, benefitting Qualcomm, the entire industry, and consumers. To further that
 5   goal, Qualcomm has participated in standards-development organizations (“SDOs”),
 6   which adopted many of Qualcomm’s innovations as the foundation of cellular standards.
 7   Qualcomm has consistently been recognized as the leader in cellular SEPs. It also has an
 8   extensive portfolio of non-cellular SEPs and NEPs. Apple itself has
 9                                                                                 .2
10         Apple has been one of the chief beneficiaries of Qualcomm’s innovations. High-
11   speed cellular enables ubiquitous access to the mobile data on which smartphones, with
12   their data-intensive apps and functions, depend. The evidence will show that
13   Qualcomm’s inventions enhance consumer demand for smartphones, and iPhones in
14   particular.
            B.     Qualcomm Developed and Sells Industry-Leading Cell Phone
15                 Applications Processors, Modems and Related Chips.
16         Qualcomm also is a leading manufacturer of chips that enable cell phones. These
17   chips include: (1) multi-mode modem chips that enable cellular devices’ connection to
18   multiple cellular networks, such as CDMA, WCDMA, or LTE networks; and
19   (2) systems-on-a-chip (“SOCs”) that, in addition to cellular modem functionality, include
20   an application processor, graphics processor, global positioning (GPS), and other
21   functions integrated into one chip package. The business of developing and selling
22   modem chips has been, and remains, highly competitive. Original equipment
23   manufacturers (“OEMs”), including Apple, have chosen Qualcomm’s chips because
24   those chips have been first to market and technologically superior. Qualcomm has also
25   been able to out-compete its rivals with its ability to satisfy OEMs’ demanding technical
26
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      QUALCOMM’S TRIAL BRIEF                    -3-                 CASE NO. 3:17-CV-0108-GPC-MDD
 1   and scheduling needs. That has been particularly true for Apple,
 2                                                                 .
 3         C.     The CMs Entered into SULAs on Terms That Have Been Widely
                  Accepted by the Cellular Industry for Decades.
 4                1.   Qualcomm’s Licensing Business and Practices
 5         As a startup company in need of cash, Qualcomm in the early 1990s began
 6   licensing its CDMA technology in exchange for an up-front fee and running royalty that
 7   the licensee would pay if CDMA ever became commercialized. This approach allowed
 8   Qualcomm to monetize the value of its IP while the industry flourished. Since then,
 9   hundreds of licensees have agreed, following arm’s-length negotiations, to pay
10   Qualcomm royalties commensurate with its patent portfolio’s value.
11         When Qualcomm identifies its patents to ETSI or other SDOs as potentially
12   essential to practicing a given standard, Qualcomm provides a commitment to the SDO to
13   make available licenses to those SEPs on FRAND terms. The IP rights policy of ETSI
14   (“ETSI IPR Policy”), the leading cellular SDO, does not define specific terms, rates, or
15   licensing practices as consistent or inconsistent with FRAND. ETSI seeks to ensure both
16   that standardized technology is made broadly available to implementers such as Apple
17   and that innovators such as Qualcomm receive adequate and fair compensation for their
18   inventions. Good-faith licensing negotiations are the way the industry strikes this
19   balance. As to NEPs, Qualcomm has made no commitment to an SDO to license those
20   patents, and thus they are not subject to the FRAND commitment. Many of Qualcomm’s
21   licensees have taken licenses to NEPs and SEPs, recognizing the freedom to operate such
22   a license provides.
23         Qualcomm has signed over three hundred license agreements. Although the terms
24   vary, Qualcomm’s SULAs generally provide for an up-front payment, a broad cross-
25   license, and running royalties calculated at 5% of the handset’s “net selling price” or
26   “NSP”. Qualcomm caps the royalty payable on products above certain selling prices.
27   Many agreements include a license to Qualcomm’s cellular SEPs, non-cellular SEPs, and
28   NEPs, although Qualcomm has negotiated and offered cellular SEP-only licenses

      QUALCOMM’S TRIAL BRIEF                     -4-                 CASE NO. 3:17-CV-0108-GPC-MDD
 1                                                      at a royalty rate of 3.25% of the
 2   handset’s NSP.
 3          Like other major holders of cellular IP since the industry’s beginning, Qualcomm
 4   has licensed its patents exhaustively only at the handset level, rather than at multiple
 5   levels in the phone-production chain. This “device-level licensing” structure both
 6   comports with the industry’s longstanding understanding of the ETSI IPR Policy, is more
 7   efficient for both licensors and licensees, and promotes competition in the modem chip
 8   markets. Rather than offer exhaustive licenses to competing modem chipmakers,
 9   Qualcomm has never asserted its SEPs against them (except defensively). Thus, other
10   chipmakers, including Intel, MediaTek, and others, have been free to make and sell
11   modem chips, do so in increasing volumes, and they pay no royalties to Qualcomm.
12          Qualcomm has never priced its IP into the price of its chips. Rather, it charges a
13   separate royalty in its SULAs. Anyone who makes a cellular handset without a
14   Qualcomm license would infringe Qualcomm’s IP, whether they bought Qualcomm’s
15   chips or not. Hence, Qualcomm does not assist in the infringement of its own IP by
16   selling chips to non-licensed entities. Instead, Qualcomm will sell chips only to licensed
17   entities.
18          The premise of Apple’s case is that this policy allows Qualcomm to coerce OEMs
19   into paying “supra-FRAND” royalties and to “double-dip”. The evidence will show,
20   however, that over 100 OEMs have taken licenses on Qualcomm’s typical terms—
21                                                        —at times when Qualcomm either did
22   not sell modem chips to those OEMs, or indisputably lacked the monopoly power in the
23   modem chip markets that Apple claims allows Qualcomm to coerce unfair royalties. In
24   addition, any plausible methodology for valuing Qualcomm’s patent portfolio
25   demonstrates that Qualcomm charges royalties that are fair and reasonable. The strongest
26   evidence that Qualcomm’s royalties are FRAND is the market’s acceptance of
27   Qualcomm’s royalty terms, which have remained largely consistent over time despite the
28   dramatic growth of its patent portfolio and incredible proliferation of the subject

      QUALCOMM’S TRIAL BRIEF                      -5-                 CASE NO. 3:17-CV-0108-GPC-MDD
 1   technology. The evidence will show the massive value to consumers that modern cellular
 2   technology has created, and that Qualcomm’s royalties represent a modest fraction of that
 3   value.3 And notably, before bringing this litigation,
 4                                                 .
 5                2.    The CMs’ SULAs
 6         Apple has never been a direct licensee of Qualcomm. When it entered the handset
 7   market in 2007 with the first iPhone, Apple chose to rely on the CMs’ SULAs. Each of
 8   the four CMs in this case entered into license agreements with Qualcomm between 2000
 9   and 2010. Compal, Foxconn, and Wistron negotiated and signed their SULAs years
10   before they began making cellular devices for Apple; in the case of Compal and Foxconn,
11   years before the iPhone even existed. The CMs are large, sophisticated companies, and
12   the SULAs were the subject of lengthy arms-length negotiations.
13         Under the CMs’ SULAs, the CMs took licenses to Qualcomm’s patent portfolio,
14   including cellular SEPs and certain non-cellular SEPs and NEPs. In exchange, the CMs
15   each agreed that they would
16
17                                                                          .4 Each SULA
18   also provides that Qualcomm may audit the respective CM’s books and records to ensure
19   that the royalties that CM has reported and paid are accurate. The royalty terms are
20   agnostic as to which company’s chip is incorporated into the phone. As such,
21   Qualcomm’s royalties do not result in increased costs to an OEM using a rival’s modem
22   chips rather than Qualcomm’s.
23
24
       3
25        In addition, Qualcomm will present evidence of economic modeling showing that its
     rates are consistent with the industry average rates for cellular SEPs.
        4
26        Notably, under the CMs’ SULAs, the CMs pay royalties to Qualcomm at a rate of
     of the “transfer price” at which the CMs sell devices to Apple. So, unlike many
27   licensees, Apple enjoys the benefit of paying Qualcomm’s royalties on its devices based
     on the wholesale, rather than retail, price. Whatever the transfer price, moreover, as
28              ve, Qualcomm caps the royalty; the current cap is $20 for mobile phones and
                .
      QUALCOMM’S TRIAL BRIEF                     -6-                CASE NO. 3:17-CV-0108-GPC-MDD
 1          In addition, the SULA terms were not coerced by a supposed need for Qualcomm’s
 2   modem chips. Compal, for example, did not even purchase Qualcomm chips until two
 3   years after it signed its SULA;
 4                  . Over the years, several of the CMs and Qualcomm have amended the
 5   SULAs multiple times; for example, to add new cellular standards to the scope of the
 6   licenses, extend the scope of the non-cellular SEPs and NEPs licensed, or add a new
 7   corporate entity as a sublicensee.
 8          Until 2017, the CMs paid the royalties owed under the SULAs, with Apple
 9   advancing to the CMs the amounts the CMs paid to Qualcomm. During this time, the
10   CMs’ royalties remained the same, whether or not Apple was purchasing Qualcomm’s
11   chips at the time. Even after the CMs—at Apple’s instigation—stopped paying
12   Qualcomm’s royalties for Apple products, they have continued to pay Qualcomm the
13   royalties owed under the SULAs for the non-Apple products they assemble.
14          D.    The Apple-Qualcomm Business Relationship
15          Unlike most other OEMs, which use SOCs, Apple uses “thin modems”—
16   standalone baseband processors that do not include application processors, graphics
17   processors, or other functionalities. Until 2011, Apple sourced thin modems solely from
18   Infineon (which was acquired by Intel). Between 2007 and 2013, Qualcomm and Apple
19   entered into a series of agreements relating to business cooperation and, starting in 2011,
20   to chips. The evidence will show that these agreements were freely and heavily
21   negotiated, with Apple holding a large amount of leverage over Qualcomm; that Apple,
22   despite its claims today, was not coerced; that the agreements did not result in foreclosure
23   of any rival chipmaker; and that Apple received substantial value—billions of dollars
24   from Qualcomm—from these agreements.
25          Marketing Incentive Agreement (2007) (“MIA”): Under the MIA, Qualcomm paid

26   over             in marketing funds to Apple in exchange for Apple’s announcing that it

27   would use WCDMA, rather than an inferior standard known as WiMax, for its 3G

28   iPhones, among other consideration.

      QUALCOMM’S TRIAL BRIEF                     -7-                 CASE NO. 3:17-CV-0108-GPC-MDD
 1         Transition Agreement (2011) (“TA”): Apple first used Qualcomm modems in
 2   2011. Apple demanded that Qualcomm pay the purported cost of Apple’s switching from
 3   Infineon/Intel to Qualcomm. Under the Transition Agreement, Qualcomm paid over
 4          to incentivize Apple to purchase its chips. But, while Apple demanded large up-
 5   front payments from Qualcomm, and Qualcomm was required to make large investments
 6   to customize thin modems for Apple, Apple refused to provide a volume commitment.
 7   Thus, Qualcomm faced the risk that those very substantial, Apple-specific, up-front
 8   investments might be lost, in whole or in part, if Apple did not in fact source most of its
 9   modem requirements from Qualcomm. To protect against that risk, Qualcomm
10   negotiated a clawback provision giving it the right to recover some of its up-front
11   investments if Apple did not purchase nearly all of its modem chips from Qualcomm.
12   Unbeknownst to Qualcomm at the time,
13
14                                             .
15         Amended Transition Agreement (2013) (“ATA”): In 2012, Apple threatened to
16   move its thin modem purchases elsewhere unless Qualcomm paid it additional financial
17   incentives. In the Amended Transition Agreement, Qualcomm agreed to make additional
18   incentive payments to Apple, again conditioned on Apple’s purchasing all or nearly all of
19   its modem chips from Qualcomm. Like the TA, the ATA did not require Apple to source
20   its chips exclusively from Qualcomm, and ultimately Apple did not: In 2016, while the
21   ATA was still in effect, Apple began using inferior Intel modems for some of its iPhones.
22   Before that point, Apple repeatedly
23                                         . Today, Apple sources all modem chips for new-
24   model iPhones and iPads from Intel.
25         Business Cooperation and Patent Agreement (2013) (“BCPA”): The parties have
26   discussed the BCPA extensively in prior briefing. In that agreement, Qualcomm agreed
27   to make further incentive payments to Apple in exchange for specifically defined
28   business cooperation and certain rights to Apple’s patents.

      QUALCOMM’S TRIAL BRIEF                       -8-                CASE NO. 3:17-CV-0108-GPC-MDD
 1            Contrary to Apple’s claims, the incentive payments under these contracts were not
 2   royalty rebates. Rather, under the agreements Qualcomm paid Apple money in exchange
 3   for valuable consideration. Apple witnesses have acknowledged that each contract
 4   provided Qualcomm with separate value, unrelated to royalties, such as marketing
 5   assistance, non-assertion of Apple’s patents against Qualcomm, and greater assurance
 6   that Qualcomm would recoup its investments in supplying Apple.
 7                                          DISCUSSION
 8   I.       The CMs Breached Their SULAs at Apple’s Instigation.
 9            CMs’ Breaches. The CMs’ breaches of their SULAs are clear and essentially
10   undisputed.5 As consideration for licensing Qualcomm’s patent portfolio (including
11   SEPs and NEPs), the CMs agreed to pay quarterly royalties on all licensed products they
12   sold. The CMs did that for many years. The CMs continue, even today, to pay
13   Qualcomm the royalties they owe under the SULAs on non-Apple devices. However,
14   starting with royalties owed on sales to Apple in the first quarter of 2017, the CMs have
15   stopped paying any royalties to Qualcomm on Apple products. Qualcomm has been
16   damaged in at least the amount of these unpaid royalties, which total billions of dollars.
17            Apple’s Interference. The CMs’ breach of their SULAs was not the CMs’ idea; it
18   was the intended result of deliberate acts by Apple.6 Despite operating under the CMs’
19   SULAs for nearly a decade without challenging the terms of those agreements, in 2017
20   Apple decided it would no longer pay the CMs any royalties which they, in turn, owed to
21   Qualcomm on Apple devices. Apple’s
22
23                                                           . The evidence will also show that
24   due to Apple’s interference, the CMs have withheld billions of dollars in royalty
25   payments, causing Qualcomm substantial harm—which was precisely what Apple
26        5
         See Counts I, III, V & VII, QC CM Compl. (Final Pretrial Conference Order (“PTO”)
27   72-105.) Qualcomm also seeks a declaratory judgment that each CM has unjustifiably
     breached its obligations under its SULA and that Qualcomm has not. Count IX, QC CM
28   Compl. (PTO 109-114.)
       6
         Count I, QC Countercls. (PTO 32-38.)
      QUALCOMM’S TRIAL BRIEF                      -9-                CASE NO. 3:17-CV-0108-GPC-MDD
 1   intended. Apple knew that its failure to pay the CMs would disrupt the CMs’
 2   performance because the CMs’ policy and practice was to pay Qualcomm
 3                                                     . Apple also knew that
 4
 5              . Apple’s knowledge that its actions would result in the disruption of the
 6   CMs’ contracts is sufficient for liability. See, e.g., Korea Supply Co. v. Lockheed Martin
 7   Corp., 29 Cal. 4th 1134, 1153-57 (2003). But the evidence is overwhelming that Apple
 8   intended to disrupt the CMs’ performance, and acted maliciously in doing so. 7 The CMs
 9
10
11                                                                                . And Apple
12   took the initiative to fully indemnify each of the CMs from claims arising from breaches
13   of their SULAs—
14                     . Apple documents reveal that all of this was part of its goal of
15                                      to get Qualcomm to give in to Apple’s demands.
16   II.   Apple’s and the CMs’ Excuses for Breaching the SULAs Fail.
17         In an attempt to excuse their breaches and Apple’s tortious interference, Apple and
18   the CMs assert three broad categories of claims, each challenging the enforceability of
19   the SULAs on public policy grounds. First, Apple and the CMs assert a set of claims
20   premised on the assertion that the SULAs fail to comply with Qualcomm’s FRAND
21   commitments. 8 Second, Apple and the CMs assert claims under the Sherman Act that the
22   SULAs and Qualcomm’s licensing practices generally are anticompetitive.9 Third, Apple
23   asserts that the SULAs are unenforceable because they allegedly require the CMs (and
24
       7
25       Qualcomm is entitled to punitive damages in relation to Apple’s tortious interference,
     because
       8
             Apple acted with “oppression, fraud, or malice”. Cal. Civ. Code § 3294.
26       Count LXI, Apple Claims (PTO 20-25); Counts V-XII, CM Countercls. (PTO 130-
     156).
       9
27       Count LXII, Apple Claims (PTO 25-28); Counts I-II, CM Countercls. (PTO 115-
     122). The CMs also allege that Qualcomm’s conduct violated the Cartwright Act, Cal.
28   Bus. & Prof. Code § 16700 et seq., Count III, CM Countercls. (PTO 122-126), which is
     coextensive with the Sherman Act, Blank v. Kirwan, 39 Cal. 3d 311, 320 (1985).
      QUALCOMM’S TRIAL BRIEF                    -10-                CASE NO. 3:17-CV-0108-GPC-MDD
 1   therefore Apple) to pay royalties on exhausted patents.10 For each of these claims, Apple
 2   must prove that the interest in the contracts’ enforcement is “clearly outweighed in the
 3   circumstances by a public policy against the enforcement of such terms”. (ECF 1027 at
 4   20 (quotation omitted) (emphasis added).) Qualcomm seeks declaratory judgments that
 5   the SULAs do not violate either its FRAND commitments or competition laws. 11
 6          A.    The SULAs Are Consistent with FRAND.
 7                1.   The SULAs Are Immune from the CMs’ FRAND Challenges.
            Apple’s and the CMs’ FRAND-related claims fail at the outset for three reasons.
 8
     First, as explained in its Rule 44.1 motion briefing, Qualcomm discharged its FRAND
 9
     commitments as to the CMs when it offered a license to its SEPs and the CMs accepted
10
     the terms of that license. An existing licensee has no post hoc cause of action to
11
     invalidate its license on the basis that it violated (or violates) FRAND. (See ECF 876-01
12
     at 6-9.) Second, as discussed in Qualcomm’s brief on disputed contract provisions, the
13
     SULAs contain integration clauses that bar the CMs from invoking Qualcomm’s FRAND
14
     commitments as a basis to invalidate them. (See ECF 881 at 21-25.) Third, the CMs’
15
     SULAs cover tens of thousands of patents not covered by any FRAND commitment.
16
                  2.     The SULAs Satisfy Qualcomm’s FRAND Commitment.
17
            Even if the CMs and Apple could today challenge as unfair and unreasonable
18
     agreements that the CMs signed years ago and performed for over a decade, their claims
19
     fail on the merits. The evidence will show that Qualcomm’s FRAND commitment does
20
     not require that parties to licenses adopt particular commercial terms, or that royalties
21
     stay under the artificial caps or be calculated according to the artificial methods put
22
     forward by Apple’s experts. Rather, the best evidence of the fairness and reasonableness
23
     of Qualcomm’s royalties is the market’s broad acceptance of those terms. See, e.g.,
24
     LaserDynamics, Inc. v. Quanta Comput., Inc., 694 F.3d 51, 79 (Fed. Cir. 2012).
25
26
       10
27         See Count LXI, Apple Claims. (PTO 20-25.) Apple’s and the CMs’ claims under
     the California UCL appear to rely on each of these three defenses. Count LXIII, Apple
28   Claims (PTO 28-31); Count IV, CM Countercls. (PTO 126-129).
        11
           See Counts II, III, QC Countercls. (PTO 38-45.)
      QUALCOMM’S TRIAL BRIEF                      -11-                CASE NO. 3:17-CV-0108-GPC-MDD
 1                                                 . For example,
 2
 3
 4
 5                                                . Even before then, Apple had chosen to use
 6   the CMs’ SULAs since it entered the handset market. During its first several years,
 7   Apple did not use any Qualcomm chips. Thus, even under Apple’s theory of alleged chip
 8   power, Qualcomm lacked the ability to coerce Apple to accept the royalties paid by the
 9   CMs. But Apple did not bring a FRAND challenge during those 10-plus years,
10
11                                                                  . 12
12          The licensing practices that Apple and the CMs challenge are consistent with
13   standard licensing practices in the cellular industry, which the industry had good reasons
14   for adopting. For example, the SULAs’ use of the NSP of the device as the royalty base
15   is consistent with the common understanding of the ETSI IPR Policy. Using NSP as the
16   royalty base was the prevailing practice of the industry at the time the policy was
17   adopted, and has been ever since. See HTC Corp. v. Telefonaktiebolaget LM Ericsson,
18   No. 6:18-CV-00243-JRG, 2019 WL 126980, at *5 (E.D. Tex. Jan. 7, 2019). This makes
19   good sense because the value provided by Qualcomm’s technology is realized at the
20   handset level—for example, faster data speeds make the entire handset more valuable.
21   Thus, using NSP ensures that Qualcomm is fairly compensated for the value its
22   technology contributes to the licensed product.
23          B.    Qualcomm Has Not Violated the Antitrust Laws.
24                1.   Legal Standards.
            To prevail on their claims under the Sherman Act § 2, Apple and the CMs must
25
     prove that Qualcomm (1) possesses or possessed at the relevant time monopoly power in
26
27     12
          As discussed above, the CMs’ SULAs include licenses to NEPs that enable valuable
28   technologies throughout handsets. These NEPs are not subject to Qualcomm’s FRAND
     commitments.
      QUALCOMM’S TRIAL BRIEF                     -12-                CASE NO. 3:17-CV-0108-GPC-MDD
 1   the relevant market, (2) willfully acquired or maintained that power, and (3) that
 2   Qualcomm’s conduct caused them antitrust injury. See Cost Mgmt. Servs., Inc. v. Wash.
 3   Nat’l Gas Co., 99 F.3d 937, 949 (9th Cir. 1996). “‘Willful acquisition’ or ‘maintenance
 4   of monopoly power’ involves ‘exclusionary conduct,’ not power gained ‘from growth or
 5   development as a consequence of a superior product, business acumen, or historic
 6   accident.’” Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1208 (9th
 7   Cir. 1997) (quoting United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966)).
 8   Apple and the CMs must prove that the challenged conduct has “an anticompetitive
 9   effect”, meaning “harm [to] the competitive process” rather than merely “harm to one or
10   more competitors”. United States v. Microsoft Corp., 253 F.3d 34, 50 (D.C. Cir. 2001)
11   (quotation omitted). “When a legitimate business justification supports a monopolist’s
12   exclusionary conduct, that conduct does not violate § 2 of the Sherman Act.” Image
13   Tech. Servs., 125 F.3d at 1212.
14         Under the Sherman Act § 1, the CMs must prove: “(1) an agreement or conspiracy
15   among two or more . . . entities; (2) by which the . . . entities intend to harm or restrain
16   competition; and (3) which actually restrains competition”. City of Vernon v. S. Cal.
17   Edison Co., 955 F.2d 1361, 1365 (9th Cir. 1992) (internal quotation marks and citation
18   omitted). Because the CMs challenge vertical agreements, under § 1 the CMs must also
19   prove that Qualcomm possessed market power in the alleged antitrust markets. Ohio v.
20   Am. Express Co., 138 S. Ct. 2274, 2285 n.7 (2018). Under the rule of reason, the CMs
21   must first prove that the challenged agreements have a “substantial anticompetitive
22   effect”. Id. at 2284. If the CMs succeed, the burden then shifts to Qualcomm to advance
23   a “procompetitive rationale”. Id. To overcome such a showing, the CMs must
24   “demonstrate that the procompetitive efficiencies could be reasonably achieved through
25   less anticompetitive means”. Id.
26         For all of their competition law claims, Apple and the CMs must further prove that
27   they suffered an injury of the type the antitrust laws were intended to prevent due to the
28   allegedly anticompetitive aspects of Qualcomm’s conduct. See, e.g., Pool Water Prods.

      QUALCOMM’S TRIAL BRIEF                      -13-                 CASE NO. 3:17-CV-0108-GPC-MDD
 1   v. Olin Corp., 258 F.3d 1024, 1034 (9th Cir. 2001). It is insufficient for Apple and the
 2   CMs to prove merely that Qualcomm’s conduct resulted in raised prices or costs. See,
 3   e.g., NYNEX Corp. v. Discon, Inc., 525 U.S. 128, 136-37 (1998).
 4              2.    The SULAs and Qualcomm’s Licensing Practices Are Lawful Under
                      Competition Law.
 5         The evidence will not support Apple’s and the CMs’ allegations concerning market
 6   definition and monopoly power, dooming all of the competition law claims. Apple’s
 7   “premium LTE” chip market definition is based on flawed assumptions, and Apple’s
 8   experts fail to consider various factors that contradict its allegations regarding
 9   Qualcomm’s monopoly power, including, for example, ex ante competition among chip
10   suppliers and competitive pressure on Qualcomm from the threat of entry. The antitrust
11   claims also fail for a number of other reasons.
12         Qualcomm Acquired and Maintained Its Market Position Lawfully. Qualcomm’s
13   market position with respect to OEMs and rival chipmakers is the result of its “superior
14   product[s]” and “business acumen”, not exclusionary conduct. Image Tech. Servs., 125
15   F.3d at 1208. For years, Qualcomm has been a global leader in cellular technology due
16   to its superior innovations and extensive R&D spend. While other chipmakers ignored
17   CDMA technology, the risks Qualcomm took in proving CDMA’s superiority paid off.
18   Apple has recognized that Qualcomm’s chips are technologically superior to its
19   competitors’ offerings. Qualcomm has consistently been first to market various cutting
20   edge technologies in its chips; for example, Qualcomm developed the first 4G LTE-
21   Advanced multimode chipset that included an important technology known as carrier
22   aggregation. Qualcomm has also been able to meet Apple’s and other OEMs’ production
23   schedules,                                    . Contrary to Apple’s claims that its
24   agreements with Qualcomm prevented it from turning to other chip suppliers, the
25   evidence will show that, at the time, Apple
26                                                                                         .
27         Qualcomm’s License Agreements Were Not Influenced by Its Alleged Monopoly
28   Power. As explained above, Apple and the CMs allege that Qualcomm used its

      QUALCOMM’S TRIAL BRIEF                       -14-                CASE NO. 3:17-CV-0108-GPC-MDD
 1   monopoly power in CDMA and “premium LTE” chips to extract “supra-FRAND”
 2   royalties from licensees, including from the CMs. But the simple facts of Qualcomm’s
 3   licensing history belie these claims. For example:
 4       • Compal signed its SULA two years before it bought chips from Qualcomm, and
            four years before Apple and the CMs allege Qualcomm possessed monopoly
 5          power. Accordingly, Qualcomm had no way to use its purported monopoly power
 6          in any chip market to coerce Compal into accepting its licensing terms.

 7      •                                         . Apple and the CMs do not allege
            that Qualcomm had monopoly power in WCDMA chips.
 8
        •
 9                             which were not influenced by alleged monopoly power.
10      • Apple advanced to the CMs the royalties they owed under the SULAs for Apple
          products beginning in 2008 (when Apple introduced the iPhone 3G), but Apple did
11
          not buy Qualcomm’s chips until 2011, so nothing prevented Apple from
12        challenging Qualcomm’s royalty rates if it thought they were unreasonable.
13          Qualcomm’s license agreements with other OEMs have the same FRAND
14   characteristics. Qualcomm’s early license agreements, some signed before Qualcomm
15   had a chip business and before CDMA was standardized, were signed at what became its
16   standard 5% rate. Scores of other OEMs signed onto Qualcomm’s standard royalty rates
17   despite not buying Qualcomm’s chips until years later, if at all.
18          Qualcomm’s Licensing Practices Have Not Harmed Competition in the Modem
19   Chip Markets. There is no evidence that any Qualcomm conduct harmed competition
20   among modem chipmakers. While Apple and the CMs will point to chipmakers that have
21   exited the market in the past, there is no evidence that they did so because of Qualcomm.
22   Rather, those companies exited the market for unrelated reasons, including misguided
23   strategic decisions and an inability to meet customers’ needs. The modem chip markets
24   have seen entry and expansion as well as exit, and are dynamically competitive. For
25   example, Qualcomm has recently faced competition in CDMA and LTE chips from Intel
26   and MediaTek, among others, and increasingly from handset manufacturers that develop
27   and supply their own modem chips such as Samsung and Huawei.
28          The Challenged Licensing Practices Are Procompetitive and Otherwise Justified.

      QUALCOMM’S TRIAL BRIEF                     -15-                CASE NO. 3:17-CV-0108-GPC-MDD
 1   Qualcomm’s licensing practices are procompetitive and supported by legitimate business
 2   justifications. For example, Qualcomm’s policy of selling modem chips only to licensed
 3   OEMs prevents Qualcomm from enabling the theft of its own IP. It also ensures that
 4   Qualcomm will be able to realize a return on its massive and risky investments in R&D,
 5   and that non-paying unlicensed OEMs do not gain an unfair advantage over licensed
 6   OEMs who pay royalties. Qualcomm’s ability and incentive to continue to invest in
 7   R&D depends directly on its ability to receive adequate compensation. As another
 8   example, device-level licensing avoids the need for SEP-holders to engage in duplicative
 9   and costly licensing at multiple levels of the production chain. Qualcomm’s patents are
10   practiced throughout a handset, not just on the chip, and many chip-level patents are also
11   implemented in software that does not reside on the chip. Licensing at the device level
12   eliminates the substantial costs of determining where each patent in Qualcomm’s
13   portfolio is practiced and which licensee owes the royalty, and component manufacturers
14   are able to use Qualcomm’s technology royalty-free. 13
15          Apple and the CMs Suffered No Antitrust Injury. Apple and the CMs will be
16   unable to show that they suffered antitrust injury. Qualcomm’s royalty rates are
17   reasonable, so Apple and the CMs will be unable to show that they suffered “royalty
18   overcharges” from any unlawful conduct. Even if Qualcomm’s rates were found to be
19   above a “FRAND” level, Apple and the CMs will present no credible evidence of the
20   amount of the alleged “tax” portion of Qualcomm’s royalties, and so will be unable to
21   show that it was enough to affect competition and, therefore, for Apple or the CMs to
22   suffer harm resulting from alleged harm to the competitive process. Apple and the CMs
23   will also present no evidence that they in fact paid more for Qualcomm’s chips because
24   of Qualcomm’s allegedly anticompetitive conduct. Moreover, the CMs will not
25   “segregate the [alleged] losses, if any, caused by acts which were not antitrust violations
26     13
          Qualcomm does not have an antitrust duty to deal with rival modem chipmakers;
27   such duties are narrowly circumscribed, and do not arise where, as here, any refusal to
     deal was based on legitimate business reasons and not solely on anticompetitive intent.
28   See, e.g., Verizon Commc’ns v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407
     (2004); MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1131-33 (9th Cir. 2004).
      QUALCOMM’S TRIAL BRIEF                     -16-                CASE NO. 3:17-CV-0108-GPC-MDD
 1   from those that were”, and will therefore fail to make a showing entitling them to
 2   antitrust damages. City of Vernon, 955 F.2d at 1372.
 3         Apple’s Agreements with Qualcomm Are Not Unlawful or Anticompetitive.
 4   Apple’s agreements with Qualcomm were not anticompetitive and do not otherwise
 5   support Apple’s and the CMs’ antitrust claims. These agreements were the result of
 6   extensive, arm’s-length negotiations, and there is no credible evidence that Apple was
 7   coerced into entering into them. None of the agreements required that Apple use
 8   Qualcomm as its exclusive chip supplier. Apple demonstrated this when it began to dual-
 9   source chips for its iPhones in 2016, during the term of the ATA. Apple
10
11                                                                         . Apple and the CMs
12   will not show that the agreements foreclosed a “substantial share” of the relevant
13   markets, Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp., 592 F.3d 991, 996
14   (9th Cir. 2010), which “has been quantified as foreclosure of 40% to 50%”, Feitelson v.
15   Google, Inc., 80 F. Supp. 3d 1019, 1030 (N.D. Cal. 2015). The agreements served
16   legitimate business purposes, including mitigating Qualcomm’s risk in supplying Apple;
17   Qualcomm expended substantial dedicated engineering and other resources in order to
18   maintain Apple’s business, while Apple refused to commit to purchase a certain volume
19   of Qualcomm’s chips. Apple also received substantial value under the agreements,
20   including supply of customized chips and pricing guarantees.
21         C.     Apple’s and the CMs’ Exhaustion Theories Fail.
22         Qualcomm, under the SULAs, does not charge royalties for exhausted patents.
23   The CMs signed their SULAs before any chip sales occurred, and therefore before any
24   patent rights were even arguably exhausted. As Qualcomm previously explained in its
25   summary judgment briefing, patent exhaustion is an affirmative defense to a patent
26   infringement claim; the principle of exhaustion is that after the sale of an article, the
27   patent holder can no longer sue for patent infringement as to the article for any patents
28   substantially embodied in it. Impression Prods., Inc. v. Lexmark Int’l, Inc., 137 S. Ct.

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 1   1523, 1531-32 (2017). Exhaustion does not limit a patentee’s contract rights. Id. at
 2   1533, 1535. (See ECF 629 at 7-14.) Qualcomm’s licenses ensure that prior to the sale of
 3   any chipsets to a customer, Qualcomm has entered into a contractual royalty-payment
 4   arrangement with the customer. This Court has held that Qualcomm’s patent rights are
 5   not dispositive of its contract rights (see ECF 737 at 10-11), so regardless of chip sales
 6   made after the licenses were agreed to, the CMs’ SULAs continue to govern their
 7   payment obligations. The SULAs provide that
 8                                                                                        . Thus
 9   the CMs knew when they entered into the SULAs that they would pay the same royalty
10   even if some of the licensed patents were practiced by chips purchased from Qualcomm.
11   Rather than charging for its chips and IP in a single transaction, Qualcomm simply
12   divides those two exchanges into separate transactions: chip sales and IP licenses. Both
13   are contractual, and both are consistent with applicable law.14
14   III.   Qualcomm Discharged Its FRAND Commitment as to Apple.
15          Qualcomm seeks a declaratory judgment that (1) it discharged its FRAND
16   commitment as to Apple by making a complete written offer to Apple for a license to its
17   cellular SEPs on FRAND terms in 2016, and (2) Apple is an unwilling licensee.15 (See
18   ECF 1042.) Apple and Qualcomm engaged in direct licensing negotiations in 2016, the
19   latest of several rounds of such negotiations the parties have had beginning in 2005. In
20   each instance, Apple chose to continue operating under the CMs’ SULAs rather than take
21   a direct license from Qualcomm. In the 2016 negotiations, Qualcomm offered Apple a
22   license to its SEPs on FRAND terms, and it has revised that offer—even after Apple
23     14
           For the same reasons, Apple’s claim that § 4.4 of the 2015 STA Assignment
24   Agreement is unenforceable also fails. See Count LX, Apple Claims. (PTO 18-20.) In
     addition, § 4.4 is an indemnity: Qualcomm agreed to provide a chip supply commitment
25   to Apple even if the CMs violated their SULAs. In return, Apple agreed to indemnify
     Qualcomm if a legal decision reduced the royalties the CMs owed under the SULAs.
26   Indemnities are typically enforced in California and are not held to violate public policy
     unless they conflict with express statutory language or involve public safety. See, e.g.,
27   Marin Storage & Trucking, Inc. v. Benco Contracting & Eng’g, Inc., 89 Cal. App. 4th
     1042, 1057 (2001); Rooz v. Kimmel, 55 Cal. App. 4th 573, 588 (1997); Fernandez v. K-M
28   Indus. Holding Co., 646 F. Supp. 2d 1150, 1155 (N.D. Cal. 2009).
        15
           Count IV, QC Countercls. (PTO 45-48.)
      QUALCOMM’S TRIAL BRIEF                     -18-                  CASE NO. 3:17-CV-0108-GPC-MDD
 1   brought this litigation—in an effort to reach an agreement. Apple, on the other hand,
 2   behaved unreasonably during the parties’ negotiations in 2016, demonstrating that it
 3   never intended to negotiate in good faith toward an agreement. For example, Apple
 4   demanded extremely detailed information about each of Qualcomm’s thousands of SEPs,
 5   with full knowledge that negotiating at that level of specificity would be impossible (and
 6   that it would therefore be dramatically inconsistent with industry licensing negotiation
 7   practice). Apple ultimately made an offer for Qualcomm’s cellular SEPs that was so low
 8   that it will suggest bad faith to the jury. And then, Apple instituted a royalty embargo by
 9   interfering with the CMs’ performance of their SULAs. Under these circumstances,
10   Qualcomm’s FRAND commitment to Apple has been discharged. 16
11   IV.    Additional Claims.
12          A.    Apple and the CMs Are Liable for Underpaid Royalties Prior to 2017.
13          For many years, the CMs have understated the true price at which the CMs sold the
14   devices they assembled to Apple. Because the SULAs provide that royalties are
15   calculated based on those prices,17 the CMs have for years underreported and—before
16   they stopped paying altogether in 2017—underpaid royalties owed to Qualcomm for
17   sales to Apple. Apple and the CMs are liable for these royalties, which amount to
18   hundreds of millions of dollars, as well as the late fees prescribed by the SULAs.
19          Apple also interfered with the CMs’ obligations under their SULAs to allow
20   Qualcomm to audit the CMs’ royalty reporting. Qualcomm has been unable to confirm
21   whether the CMs complied with their SULAs in reporting and paying royalties on their
22   sales of Apple devices because the CMs have withheld basic information required by
23   auditors. The CMs withheld that information at Apple’s instruction, notwithstanding that
24   the audits are subject to a non-disclosure agreement and that the CMs provide the same
25
       16
26         See ECF 1042 at 13 (“If Apple is found to have forfeited its rights to a FRAND
     license, then Qualcomm is not obligated to offer Apple a FRAND license to its SEPs.”);
27   ECF 141, at 19 n.7 (“[I]f Apple wishes to enforce Qualcomm’s commitment to ETSI it
     must demonstrate that it was a willing licensee and, therefore, a proper third-party
28   beneficiary.”).
        17
           See supra n.4.
      QUALCOMM’S TRIAL BRIEF                     -19-                CASE NO. 3:17-CV-0108-GPC-MDD
 1   information as it relates to sales to other customers.
 2           B.    Apple Breached the 2013 SOW Agreement with Qualcomm.
 3           In early 2013, Apple and Qualcomm entered into a Statement of Work for
 4   Qualcomm Chipsets (“2013 SOW”), which concerned particular chips Qualcomm sold to
 5   Apple. Apple promised to pay Qualcomm a set amount, called an “Adder”, for Apple
 6   products that included Qualcomm’s MDM9625 chipset (which was included in certain
 7   iPhone and iPad models launched in 2014 and 2015) and met any one of four enumerated
 8   criteria relating to carrier aggregation technology (“Criteria”).18 Apple breached the 2013
 9   SOW by withholding hundreds of millions of dollars in Adder payments it owes to
10   Qualcomm under the agreement.19 First, the “marketing” Criterion states that the
11   marketing of devices as being capable of carrier aggregation triggers Adder payments for
12   those devices, and Apple’s own marketing executives repeatedly touted the carrier
13   aggregation capabilities of its iPhones and iPads with MDM9625 at product launch
14   events. Second, Apple owes Qualcomm Adder payments for devices first activated on
15   networks enabled to support carrier aggregation technology.
16
17
18                                                       .
19                                         CONCLUSION
20           The evidence will show that the CMs breached enforceable SULAs at Apple’s
21   instigation, causing billions of dollars in damages to Qualcomm. Apple and the CMs will
22   be unable to prove their claims that the SULAs are inconsistent with Qualcomm’s
23   FRAND commitments and competition law or are otherwise unenforceable, and
24   Qualcomm will prevail on its additional claims for damages and for declaratory relief.
25
26
27
       18
28     19
            These Criteria are enumerated in § 4.2(A)-(D) of the 2013 SOW.
            Count V, QC Countercls. (PTO 48-50.)
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 1   Dated: March 24, 2019    Respectfully submitted,

 2
                              By     /s/ Evan R. Chesler
 3
                                    Evan R. Chesler
 4
 5                            CRAVATH, SWAINE & MOORE LLP
                              Evan R. Chesler (pro hac vice)
 6                            (N.Y. Bar No. 1475722)
                              echesler@cravath.com
 7                            Keith R. Hummel (pro hac vice)
                              (N.Y. Bar No. 2430668)
 8                            khummel@cravath.com
                              Richard J. Stark (pro hac vice)
 9                            (N.Y. Bar No. 2472603)
                              rstark@cravath.com
10                            Antony L. Ryan (pro hac vice)
                              (N.Y. Bar No. 2784817)
11                            aryan@cravath.com
                              Gary A. Bornstein (pro hac vice)
12                            (N.Y. Bar No. 2916815)
                              gbornstein@cravath.com
13                            J. Wesley Earnhardt (pro hac vice)
                              (N.Y. Bar No. 4331609)
14                            wearnhardt@cravath.com
                              Yonatan Even (pro hac vice)
15                            (N.Y. Bar No. 4339651)
                              yeven@cravath.com
16                            Vanessa A. Lavely (pro hac vice)
                              (N.Y. Bar No. 4867412)
17                            vlavely@cravath.com
                              Worldwide Plaza
18                            825 Eighth Avenue
                              New York, New York 10019
19                            Telephone: (212) 474-1000
                              Facsimile: (212) 474-3700
20
21
22
23
24
25
26
27
28

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                              QUINN EMANUEL URQUHART &
 1                            SULLIVAN, LLP
                              David A. Nelson (pro hac vice)
 2                            (Ill. Bar No. 6209623)
                              davenelson@quinnemanuel.com
 3                            Stephen Swedlow (pro hac vice)
                              (Ill. Bar No. 6234550)
 4                            stephenswedlow@quinnemanuel.com
                              500 West Madison St., Suite 2450
 5                            Chicago, Illinois 60661
                              Telephone: (312) 705-7400
 6                            Facsimile: (312) 705-7401
 7
                              Alexander Rudis (pro hac vice)
 8                            (N.Y. Bar No. 4232591)
                              alexanderrudis@quinnemanuel.com
 9                            51 Madison Ave., 22nd Floor
                              New York, New York 10010
10                            Telephone: (212) 849-7000
                              Facsimile: (212) 849-7100
11
                              Sean S. Pak (SBN 219032)
12                            seanpak@quinnemanuel.com
                              50 California St., 22nd Floor
13                            San Francisco, California 94111
                              Telephone: (415) 875-6600
14                            Facsimile: (415) 875-6700
15
16                            JONES DAY
                              Karen P. Hewitt (SBN 145309)
17                            kphewitt@jonesday.com
                              Randall E. Kay (SBN 149369)
18                            rekay@jonesday.com
                              4655 Executive Drive, Suite 1500
19                            San Diego, California 92121
                              Telephone: (858) 314-1200
20                            Facsimile: (858) 345-3178
21                            Attorneys for Defendant and
                              Counterclaim-Plaintiff
22                            QUALCOMM INCORPORATED
23
24
25
26
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